2:25-Cv-03783-DCN Date Filed 06/19/25 = Entry Number 15-1 Page 1 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH CAROLINA
(CHARLESTON DIVISION)

FORTRA LLC and ECRIME MANAGEMENT Case No.: 2:25-cv-03783-DCN
STRATEGIES INC., d/b/a PHISHLABS,

Plaintiffs

Vv. Application/Affidavit for
Pro Hac Vice Admission

DOPPEL INC. and PATRICK LELAND,

Defendants.

(1) Name: Catherine Y. Lui

(2) Residence. | reside in the following state: California
If a South Carolina resident, indicate months/years of residence:

(3) Business Address. | am an attorney and practice law under the name of or as a member of the
following firm:

Firm name: Orrick, Herrington & Sutcliffe LLP

Mailing address: 405 Howard Street, San Francisco, CA 94105-2669

Telephone number: (415) 773-5700

Facsimile number: (415)773-5759

E-mail address: clui(@orrick.com

(Application will not be considered without an e-mail address to receive electronic notification.)

(4) Jurisdiction of this Court. I, by execution of this Application and Affidavit, consent and agree to
comply with the applicable statutes, laws, and rules of the State of South Carolina, with all
applicable federal statutes, laws, and rules, including Local Rules of the United States District
Court for the District of South Carolina. I consent to the jurisdiction of the United States District
Court for the District of South Carolina in all matters of attorney conduct.'

(5) Regular Practice of Law. | am a member in good standing of the bar of the highest court of the
District of Columbia or the State of California where I regularly practice law.
Attached is my certificate of good standing.

(6) Additional Bar Membership. I have been admitted to practice before the following courts: (List all
of the courts Applicant has been admitted to practice before: United States District Courts; United
States Circuit Courts of Appeals; the Supreme Court of the United States; and courts of other

'This District maintains a web site (www.scd.uscourts.gov) from which the federal and local rules
of procedure and related materials may be obtained.

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2:25-Cv-03783-DCN Date Filed 06/19/25 = Entry Number 15-1 Page 2 of 4

states or the District of Columbia.) By signing this Affidavit, I certify that | am a member in good
standing of each of the listed bars unless otherwise noted.

Court Date Admitted Good Standing
State Bar of California (SBN239648) 12/7/2005 XlYes [_]No
U.S. District Court for the Northern District of California 3/13/2006 >x]Yes [_JNo
U.S. District Court for the Central District of California 12/3/2003 X]Yes [_|No
U.S. District Court for the Eastern District of California 5/1/2020 X]Yes [No
U.S. District Court for the District of Columbia 10/1/8/2006 x<lYes [_JNo
U.S. Court of Appeals for the Ninth Circuit 3/3/2014 X<]Yes [_]No
U.S. Court of Appeals for the District of Columbia Circuit 12/29/2006 <lYes [_|No

Pending Disciplinary Matters. Are you presently the subject of any formal suspension or
disbarment proceedings, and have you been notified by any disciplinary agency of the initiation of
formal procedures? 0.0... eee e een nee ence eas [ ]Yes x] No
(If “yes,” give particulars, such as jurisdiction, court, date, grounds. Information to comply with
this paragraph may be provided in camera but that fact shall be revealed below.)

Curtailment of Prior Pro Hac Vice Admissions. Have you ever had any application for admission
pro hac vice in this or any other jurisdiction denied or any pro hac vice admission revoked?

[]Yes X]No
(If “yes.” give particulars, such as date, court, docket number, judge, circumstances; attach a copy
of any order of denial or revocation.)

Sanctions. Have you ever had any certificate or privilege to appear and practice before any judicial
or administrative body suspended or revoked, or received a public reprimand or greater sanction?
[ ]Yes [X] No

(If “yes,” give particulars, e.g., judicial or administrative body, date of suspension, and
reinstatement.)

Criminal Sanctions. Have you ever been convicted of a felony under the laws of the District of
Columbia or of any State or under the laws of the United States?

[ ]Yes [X] No

(If “yes,” give particulars, such as date, court, judge, circumstances, and ultimate disposition.)

Present and Previous Pro Hac Vice in this Court. Have you, within the last ten (10) years, filed an
application to appear pro hac vice in the United States District Court for the District of South
Carolina or another court in the state of South Carolina?

a Yes [x}]No

(If “yes,” give court, case name, docket number, and status of litigation, year of application, local
counsel of record in each case, and state whether application is pending or was granted.) Attach
additional pages if necessary.

Page 2 of 3
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2:25-Cv-03783-DCN Date Filed 06/19/25 = Entry Number 15-1 Page 3 of 4

Designated Local Counsel. Local counsel of record associated with Applicant in this case is:
Attorney Name: John P. Linton, Jr.

Firm Name: Walker Gressette & Linton, LLC

Street Address or Post Office Box: 66 Hasell Street

City. State, and Zip Code: Charleston, SC 29401

Telephone Number: 843-727-2252

E-Mail Address: Linton@welfirm.com

I understand that local counsel of record is required to: (1) personally sign each pleading, motion,
discovery procedure, or other document served or filed in this Court; (2) accept service of all
pleadings and notices as required on behalf of all counsel for the party represented; (3) be present
at all pretrial conferences, hearings and trials, unless excused by the Court; (4) be prepared to
participate actively as may be necessary; and (5) assure compliance with applicable rules of
procedure. Local counsel of record may attend discovery proceedings.

Associated Counsel. In addition to local counsel designated above, the following counsel are also
associated with the undersigned in this case.

Application Fee. | affirm that the application fee of three hundred and fifty dollars ($350) has been
paid in accordance with the Local Rules of the United States District Court for the District of
South Carolina or paid herewith.

Electronic Notification. By submitting this application, | consent to electronic notification.

Represented Party/Parties. I seek to represent the following party/parties:
Defendant Doppel Inc.

I certify that | have read Local Civil Rule 30.04 regarding the conduct of depositions.

eS

Signature of Applicant

Sworn to,and subscribed before me

this LL day of STung 20 C.

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CHRISTINE J. FLORES
Notary Public - California

San Francisco County Zz

j Commission #2451678 =

My Comm. Expires Jun 25, 2027

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Commission expires: Vune 2e XO a]

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2:25-Cv-03783-DCN Date Filed 06/19/25 = Entry Number 15-1 Page 4 of 4

Supreme Court of California

JORGE E. NAVARRETE

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CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE

STATE OF CALIFORNIA

CATHERINE Y LUI

1, JORGE E. NAVARRETE, Clerk and Executive Officer of the Supreme Court of the
State of California, do hereby certify that CATHERINE Y LUI, #239648, was on the 7th
day of December 2005 duly admitted to practice as an attorney and counselor at law in
all the courts of this state, and is now listed on the Roll of Attorneys as a member of the

bar of this state in good standing.

Witness my hand and the seal of the court
on the 3rd day of June 2025.

JORGE E. NAVARRETE
Clerk and Executive Officer of the Supreme
Court

By: FS - (

ease Fang, Assistant Deputy Clerk

